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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES SECURITIES )
AND EXCHANGE COMMISSION, )
                          )
         Plaintiff,       )
                          ) Case No. 1:16-CV-01752-LMM
    v.                    )
                          )
HOPE ADVISORS, LLC, KAREN )
BRUTON, TODD WORTMAN, and )
DAWN ROBERTS              )
                          )
         Defendants.      )
                          )
                          )


    ORDER APPROVING THE FINAL ACCOUNTING, DIRECTING
   THE DISPOSITION OF REMAINING FUNDS, DISCHARGING THE
    DISTRIBUTION AGENT, AND TERMINATING THE FAIR FUND
                   AND RELATED RELIEF.

      The Court, having reviewed the Plaintiff Securities and Exchange

Commission’s (“Commission”) Motion, and Memorandum of Law (the

“Memorandum”), for an Order approving the Final Accounting, attached to the

Memorandum as Exhibit A; directing the disposition of remaining funds;

discharging the distribution agent; and terminating the Fair Fund; and for good

cause shown,
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     IT IS HEREBY ORDERED:

     1.   The Motion is granted;

     2.   The final accounting attached to the Memorandum as Exhibit A is

          APPROVED;

     3.   The SEC shall remit all funds remaining in the Fair Fund, and any

          funds returned to the Fair Fund in the future, to the U.S. Treasury,

          subject to Section 21F(g)(3) of the Securities Exchange Act of 1934

          [15 U.S. Code § 78u-6(g)(3)];

     4.   The Distribution Agent is DISCHARGED; and

     5.   The Fair Fund is TERMINATED.



SO ORDERED.

        May 14, 2024
Dated: _____________
                                           Leigh Martin May
                                           United States District Court Judge




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